56 F.3d 62NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Ismail SLOAN, Petitioner-Appellant,v.Daniel T. MAHON, Warden, Dillwyn Correctional Center;Charles E. Roberts, Amherst County Department of SocialServices;  Shelby H. Roberts, Amherst County Department ofSocial Services, Respondents-Appellees.
    No. 95-6174.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1995.Decided May 25, 1995.
    
      Ismail Sloan, appellant pro se.  Robert Quentin Harris, Assistant Attorney General, Richmond, VA, for appellees.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's orders denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Sloan v. Mahon, No. CA-94-58 (W.D.Va. Oct. 26, 1994 and Jan. 17, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    